              Case 1:19-cr-00366-LGS Document 192 Filed 05/26/21 Page 1 of 2


UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK
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                                                                 :
UNITED STATES OF AMERICA                                         :
                                                                 :    19 Crim. 366 (LGS)
                           -against-                             :
                                                                 :         ORDER
STEPHEN M. CALK,                                                 :
                                             Defendant.          :
-------------------------------------------------------------    X
LORNA G. SCHOFIELD, District Judge:

        WHEREAS, on January 26, 2021, the Court issued an Order scheduling the trial in this matter

to begin on June 28, 2021, (Dkt. No. 159), and on March 2, 2021, the Court issued an Order

rescheduling the trial to begin on June 22, 2021, (Dkt. No. 174).

        WHEREAS, except for Defendant’s motion in limine pertaining to evidence obtained through

grand jury proceedings, the parties’ deadline to file any motions in limine was October 23, 2020, (Dkt.

No. 93), with responses due on November 13, 2020, (Dkt. No. 120), and the Court issued a ruling on

the parties’ motions in limine on January 26, 2021, (Dkt. No. 159).

        WHEREAS, the week of April 7, 2021, the Court was informed that the Government intended

to file a motion pursuant to the Classified Information Procedures Act (“CIPA”), to rely at trial on

information designated “Secret.”

        WHEREAS, on May 25, 2021, the Court was informed that the Government intends to rely at

trial on information designated “Top Secret.” It is hereby

        ORDERED that a conference with the parties and Officer Daniel Hartenstine will be held on

May 27, 2021, at 12:00 p.m., to discuss unclassified matters related to the Government’s anticipated

motion. The conference will be telephonic and will occur on the following conference line: 888-363-

4749, access code: 5583333. The Government should be prepared to explain (1) how they propose to

present classified information to jurors who presumably do not have clearance to view classified

information; (2) what constraints there are for the storage and presentation of Secret and Top Secret

evidence respectively; (3) what showing the Government must make to deny public access to portions
            Case 1:19-cr-00366-LGS Document 192 Filed 05/26/21 Page 2 of 2


of the trial revealing classified information; (4) whether defense counsel and Defendant have clearance

to review such material; (5) when disclosure of the documents will be made to the defense; (6) whether

sufficient court reporters have clearance to record trial proceedings reflecting classified information;

(7) the volume of Secret and Top Secret documents respectively that the Government intends to offer

into evidence; and (8) why the Government did not notify the Court that they intend to rely on Top

Secret material until now. The conference is a public proceeding. Accordingly, the substance of any

classified information will not be discussed. It is hereby

       ORDERED that, by May 26, at 9:00 p.m., defense counsel shall file a letter stating whether

Defendant consents to proceed telephonically.




Dated: May 26, 2021
       New York, New York




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